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                Exhibit 12
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Date: Wednesday, November 17, 2021 10:15:56 PM                                                            Print           Close

  DOI00019899                                                                                   View: SF: Disclosure Type
 ID: DOI00019899
 Name: Daniel Smith 2021 - Demos
 Disclosure Type: Legal Consulting
 Status: Review Complete
 Department: 16380000 LS-POLITICAL SCIENCE
 Disclosure Submitted Date/Time: Oct 04, 2021 09:06am
 Level 1 Review: Approved on Nov 05, 2021 12:37pm
 Level 2 Review: Approved on Nov 05, 2021 12:50pm



Disclosure for Daniel Smith: Disclosure Type
* Please select the type of outside activity or interest you have to disclose. If
you have multiple disclosures to enter, you will disclose one at a time (e.g.,
consulting for one outside entity and a leadership role with a different outside
enity). If none of these activities or interests apply to you, select that option at
the bottom of the list.
Legal Consulting




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  DOI00019899                                                                 View: SF: Disclosure Entity Information


Disclosure for Daniel Smith: Entity Information

    1. External entity:

        or
        If entity not listed, enter a single/specific entity name here:
        Demos


        * Is the entity publicly traded?
           Yes
           No


        * Country:
        United States


        Entity-related documents:
           Name                                         Description
           There are no items to display


    2. Entity EIN tax number (optional):

    3. Entity website URL (optional):
        https://www.demos.org/



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  DOI00019899                                                                  View: SF: Disclosure Legal Consulting



Disclosure for Daniel Smith: Legal Consulting
    1. * Does this legal consulting/expert witness engagement relate to
        medical malpractice or any healthcare-related matter?
           Yes
           No


        * Does this legal consulting/expert witness engagement relate to a
        civil, criminal or administrative proceeding? Indicate any that apply.
           Civil


    2. * Will you be hired by the Government, Plaintiff, or Defendant?
        Indicate any that apply.
           Plaintiff




        I affirm that the attorney with whom I will be working understands
        that my engagement in this activity is in my capacity as a private
        citizen and not as an employee of the University of Florida.
         


    3. Enter Plaintiff(s) name:
        Dream Defenders

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    4. Enter Plaintiff law firm/attorney name:
        Arnold & Porter


    5. Enter Defendant(s) name:
        Laurel Lee


    6. Enter Defendant law firm/attorney name:

    7. City/State where the alleged issue occurred or relates to:
        Florida




    8. * Is the estimated annual compensation $5,000 or more?
           Yes
           No

        * What is the amount of estimated annual compensation?
        $10,000.00


    9. * Will UF equipment, facilities, services, resources be used (on a
        more than incidental basis), or will staff and/or students be involved
        in this activity or financial interest?
           Yes
           No




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 10. * Are you participating in UF research that would affect the disclosed
        entity (e.g. the entity: sponsors the research, makes a drug or device
        being evaluated in the study, options or licenses related technology
        or is otherwise related to the study)?
           Yes
           No


 11. * Please explain whether you think this activity/case could in any way
        place you in a position that is adverse to the interests of the
        University of Florida.
        No. Voting rights case.


 12. * Please upload an agreement with the entity to authenticate your
        responses to the questions in this section. If you do not have a
        formal agreement, please upload any email, correspondence, or
        document that serves the same purpose.
           Name                                                                                               Description

                    Consulting(0.01)


 13. Additional relevant information, if any, that would help clarify this
        disclosure:

 14. Attach any additional supporting documentation, if applicable
        (descriptive emails, letters, etc.):
           Name                                         Description
           There are no items to display




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  DOI00019899                                                                               View: SF: Time Commitment


Disclosure for Daniel Smith: Legal Consulting
Time Commitment

    1. * Approximately how long do you expect this activity or relationship
         to last in total?
         More than 6 weeks


    2. * Estimated start date:
         10/4/2021


    3. Estimated end date:

         I am not sure of the end date: 

         * Please explain how long you expect the activity to last:
         Until the conclusion of the lawsuit.


    4.
         *Approximately how many hours per week do you expect to spend on
         this activity?(Numerical values only, please)
         2


    5. Explain any additional information to clarify the dates or time
         commitment involved:


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  DOI00019899                                                                                         View: SF: Certification


Disclosure for Daniel Smith: Certification
My initials on this completed electronic disclosure affirm and certify an understanding of and
compliance with UF's policies on conflicts of interest, outside activities, and financial interests
as well as the completeness and accuracy of my responses in this disclosure.

I will keep my disclosures up-to-date and accurate, and I confirm I understand and
agree with the above statements. Enter initials here: * das




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